                                               Certificate Number: 03088-WAW-CC-036748074


                                                              03088-WAW-CC-036748074




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 10, 2022, at 10:49 o'clock AM CDT, Stephen R
Brown received from Debt Education and Certification Foundation, an agency
approved pursuant to 11 U.S.C. 111 to provide credit counseling in the Western
District of Washington, an individual [or group] briefing that complied with the
provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   August 10, 2022                        By:      /s/Brianna M Glynn


                                               Name: Brianna M Glynn


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).



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